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        Jun Dam (Pro Se)​​    ​   ​         ​       ​
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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON


            Jun Dam,                                    Case No. 2:24-CV-00417-SAB
                  Appellant
                                                        [PROPOSED] ORDER
            v. ​                                        GRANTING MOTION TO
                                                        CONFIRM JURISDICTION
            Pamela M. Egan,                             AND STAY BANKRUPTCY
            Attorney to Ch. 7 Trustee;                  PROCEEDINGS

            Mark D. Waldron, ​
            Chapter 7 Trustee;
            ​
            Potomac Law Group, PLLC;​
            ​
            ​
                  Appellees.

        ​

        TO ALL PARTIES AND THEIR COUNSEL OF RECORD:


        The Court, having considered Plaintiff Jun Dam’s Motion to Confirm

        Jurisdiction and Stay Bankruptcy Proceedings Pending § 541 Determination,

        and all supporting documents, arguments, and applicable law, and finding good




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        cause appearing, hereby ORDERS as follows:​

        IT IS HEREBY ORDERED THAT:


           1.​ This Court confirms its jurisdiction over the dispute concerning the $3

        million settlement funds pursuant to 28 U.S.C. § 1334(b), as the determination of

        whether these funds constitute estate property under 11 U.S.C. § 541 is properly

        before this Court.

           2.​ The Bankruptcy Court proceedings in In re Giga Watt Inc., Case No.

        18-03197-FPC7, specifically any action related to the administration or

        distribution of the $3 million settlement funds, are hereby STAYED pending this

        Court’s determination of ownership under 11 U.S.C. § 541.

           3.​ The Trustee is prohibited from distributing, allocating, or otherwise using

        the $3 million settlement funds until this Court has issued a ruling on ownership

        and jurisdiction.

           4.​ The parties are directed to submit a status report within [14] days from the

        date of this Order, updating the Court on any relevant developments in the

        bankruptcy case.

           5.​ The Court retains jurisdiction to issue further orders as necessary to enforce

        and implement this ruling.




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        IT IS SO ORDERED.



                                                _________________________________​
                                                HONORABLE STANLEY A. BASTIAN​
                                                  UNITED STATES DISTRICT JUDGE




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